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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARC WATERMAN                                 : CIVIL ACTION
                                              :
                    v.                        : NO. 21-2623
                                              :
COHERENT, INC., et al.                        :

                                           ORDER
      AND NOW, this 8th day of July 2021, upon considering Plaintiff’s Notice of Voluntary

Dismissal (ECF Doc. No. 2), it is ORDERED:

      1.      This action is DISMISSED WITH PREJUDICE under Federal Rule of Civil

Procedure 41(a)(1)(A)(i); and,

      2.      The Clerk of Court shall close this case.




                                                    KEARNEY, J.
